                              Case 4:18-cr-00606-LPR Document 47 Filed 10/15/21 Page 1 of 7
:'\O 245B tRe.v. 09il 9)   Judgment in a Criminal Case
                           Sheet I



                                              UNITED STATES 'DISTRICT COURT                                     TAMM
                                                                                                             By: _ _r11.1
                                                             Eastern District of Arkansas
                                                                          )                                                                  DEPCLERK
                 UNITED STATES OF AMERICA                                 )      JUDGM.ENT IN A CRIMINAL CASE
                                       V.                                 )
                                                                          )
                             ARCHIE GIBBS                                        Case Number: 4:18CR-00606-01 LPR
                                                                          )
                                                                          )      USM Number: 32377-009
                                                                          )
                                                                          )      _C~~istoe_h~-~- :arve~ J~PP'?.~~~-~)________            _
                                                                          )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to coum{s)                 1 of the Superseding,__l_n_fo_r_m_a_ti_o_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D pleaded nolo contendere to count(s)
     which was accepted by the cou1t.
D was found guilty on count(s)
  after a plea of.not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                    Offense Ended
18   u.s.c. § 922(g)(1)               Felon in Possession of a Firearm, a Class C Felony                    4/30/2018               1s




       The defendant is sentenced as provided in pages 2 through         _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refo1m Act of 1984.
D The defendant has been found not guilty on count(s)

                       - - - - - - - - - - - ~ is
li'JCount(s)                                                       Dare dismissed on tbe motion of the United States.
                   -1-
                     of the Indictment

         lt is ordered that the defendant must notify the United States attornev for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pav restitution,
the defendant must notify the comt and United States attorney of material changes in econonnc circumstances.                           · •

                                                                                                          10/12/2021
                                                                         Date of Imposition of Judgment



                                                                         s;g"'~, ~ - - - - . /




                                                                                     Lee P. Rudofsky, United States District Judge
                                                                         Name and Title of Judge


                                                                                   X0-\S · dOo--l
                                                                         Date
                           Case 4:18-cr-00606-LPR Document 47 Filed 10/15/21 Page 2 of 7
AO 2458 (Rev. 09i19) Judgment in Criminal Cas..:
                     Sheet 2 - lmprisonmenr

                                                                                                     Judgment -   Page   --=2=---- of   7
 DEFENDANT: ARCHIE GIBBS
 CASE NUMBER: 4:18CR-00606-01 LPR

                                                              IMPRISONMENT

           The defendant is hereby committed io the custody of the Federal Bureau of Prisons to be imprisoned for a
 toial term of:

 THIRTY-SIX (36) MONTHS




      ~ The court makes the following recommendations to the Bureau of Prisons:
        IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be
        incarcerated at FCI Forrest City, Arkansas; and that defendant participate in substance abuse treatment, mental health
        counseling with an emphasis in anger management, and educational and vocational programs during incarceration.



      D    The defendant is remanded to the custody ofihe United Siates Marshal.

      D    The defendant shall surrender to the United States Marshal for this district:

           D    ai                                 D   a.m.    D    p.m.     on

           D    as notified by the United States Marshal.

      ~ The defendant shall sun-ender for service of sentence at the institution designated by the Bureau of Prisons:

           ~ by I 0:00 a.m. on           11/30/2021
           D    as notified by the United States Marshal.

           D    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                                DEPUTY UNITED STATES MARSHAL
                           Case 4:18-cr-00606-LPR Document 47 Filed 10/15/21 Page 3 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page __L_ of            7
DEFENDANT: ARCHIE GIBBS
CASE NUMBER: 4:18CR-00606-01 LPR
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 THREE(3)YEARS




                                                      .MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter. as dete1mined by the court.
              D The above drug testing condition is suspended. based on the comt's detennination that you
                  pose a low risk of future substance abuse. (check /fapplicablej
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check /fapplicablej
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check /{applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 lJ.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside. work, are a student, or were convicted of a qualitying oftense. (check /fapplicableJ
7.     D You must participate in an approved program for domestic violence. (check ifapplicaNeJ
You must comply with the standard conditions that have been adopted by this cou1t as well as with any other conditions on the attached
page.
                         Case 4:18-cr-00606-LPR Document 47 Filed 10/15/21 Page 4 of 7
AO 24~B (Rev. 09/191   Judgm~nt in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                Judgment-Page _ _ _ _ _ of _ _ _ _ __
DEFENDANT: ARCHIE GIBBS
CASE NUMBER: 4:18CR-00606-01 LPR

                                       STANDARD CONDITIONS OF SUPERVISION
As patt of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about. and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
')
       After initially reporting to the probation office, you wi.11 receive instructions rrom the court or the probation officer about how and
       when you must repo1t to the probation officer, and you must repo1t to the probation officer as instructed.                          .
3.     You must not knowingly leave the federal judicial district where you are authorized to reside witJ1out first getting permission .from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       a1Tangements (such as the people you live with), you must notify the probation-officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer \Vithin 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must perm it the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a la\.vful type of employment unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances. you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm. ~mmunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of caµsing bodily injury or death to another person such as nunchakus or tasers).
l l.   You must not act or make at1y agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the pem1ission of the court.
12.    lfthe probation officer determines that you pose a risk to another person (including an organization), the probation officer n:iay
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact th_e
       person and confirm that you have notified the person about the risk.                                                            · ·
13.    You must follow the instructions of the probation officer relate~_to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instrncted me on U1e· conditions specified by tlie court and has provided me with a written copy of this-.
judgment containing these conditions. For fu1ther information regarding these conditions. see Overview cf Probation and Supervised ·.
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date                     '·....
                                                                                                                  ------------
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Al) 24~13 (Rev. 09119;   Judg.m~nl in a Criminal Case
                         Sheet 3D - Supervised Release
                                                                                             Judgment,-Page ____5_ ,Jf __________ 7 ____ _
DEFENDANT: ARCHIE GIBBS
CASE NUMBER: 4:18CR-00606-01 LPR

                                           SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the of the
 probation office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment.
 Further, defendant must abstain from the use of alcohol during treatment. The defendant must pay for the cost of
 treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as
 determined by the probation office. In the event ttie defendant is financially unable to pay for the cost of the treatment, the
 co-pay requirement will be waived. The defendant must disclose his substance abuse history to prescribing physicians and
 allow the probation office to verify disclosure.

 2. Defendant must participate in a mental health treatment program with an emphasis in anger management under the
 guidance and supervision of the probation office. Defendant must pay for the cost of treatment at the rate of $10 per
 session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the probation office. In
 the event the defendant is financially unable to pay for the cost of the treatment, the co-pay requirement will be waived.

 3. Defendant m1,-1st not have any contact whatsoever with Joyce Gibbs during his term of supervised release without prior
 approval of each contact by the probation officer and then only under the terms allowed by the probation officer.
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AO :!45B (Rev. 09/19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment -   Page       6     of        7
 DEFENDANT: ARCHIE GIBBS
 CASE NUMBER: 4:18CR-00606-01 LPR
                                                 CRIMINAL MONETARYP.ENALTIES
      The defendant must pay the total criminal monetary penalties under ihe schedule of payments on Sheet 6.


                        Assessment               Restitution                                    AV AA Assessment"'             .JVT A Assessment*'~
 TOTALS            $    100.00               $                        $                     s                              s

 D    The determination of restitution is deferred until
                                                                - - - - -.    An Amended .Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority ~r~er or perc~ntage payment column below. However, pursuant to 18.U.S.C. § 3664(i). all nonfederal victims must be paid
      before the United States 1s paid.

 Name of Pavee                                                    Total Loss***             Restitution Ordered            Priority or Percentage




 TOTALS                                s                           0.00        s                       0.00


 D     Restitution amount ordered pursuant io plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2.500, unless the restitution or fine is paid in foll bef~Jre the
       fifteenth day after ihe date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does noi have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the            D fine   D restitution.
       D    the interest requirement for the         D     fine    D restitution is modified as follows:

 * !\my~ Vicky, ~nq Andy Child P~moiraphy Victim Assistance Act of 2018, Pub. L. No. 115-299.
 H Justice for V1ct1ms of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters l09A, 110, 1 lOA, and 113A of Title l 8 for offenses committed on
 or after September 13. 1994. but before April 23. 1996.
AO 245B (Rev. 09/l9l
                           Case 4:18-cr-00606-LPR Document 47 Filed 10/15/21 Page 7 of 7
                       Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                               Judgment -          7_ of
                                                                                                                            Page _ _             7
 DEFENDANT: ARCHIE GIBBS
 CASE NUMBER: 4:18CR-00606-01 LPR


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

 A     It!   Lump sum payment of$          100.00 ________ _      due immediately, balance due

             D    not later than                                      . or
             D    in accordance with     D C,           D D,      D    E.or     D    F below; or

 B     D Payment to begin immediately (may be combined with                   • c,       D D, or     D F below); or

 C     D     Payment in equal __ _ __ _ __ (e.g., week()', mo11th(v, quarrer/vj installments of $ ______ over a period of
                          (e.g., mo11ths or years). to commence                (e.g.. 30 or 6() days) after the date of this judgment: or

 I)    D Payment in equal          _ _ _ _ _ (e.g.. weekly, momli~v, quarierl>:j installments of $ _ _ _ _ over a period of
                           (e.g.. months or yearsi, to commence _ _ _ _ _ (e.g., 3() or 60 daysj after release from imprisonment to a
             term of supet'vision; or

 E     D Payment during the term of supervised release will commence within       _ _ _ _ _ (e.g.. 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D Special instructions regarding the payment of criminal monetary penalties:




 Un less rhe co~rt h~ expressly order~d c;,therwise, ifth is judgment imposes imprisonment, payment of criminal monetary penaltie~ is du_e during
 the period of 11npnsonment. All crumnal monetarv penalhes. except those payments made through the Federal Bureau of Pnsons· Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                    Joint and Several                 Corr~sponding_ Payee,
       (inc/11di11g defendant n11mbe1)                         Total Amount                     Amount                           1f appropnate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following comt cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 P_!lYJ!}ents ~ha}I be applied _in the following ord~r: (I) ~sse~sment, (2) ,restitution principal, (3) ~estitution interest, (4) AV, AA assessment,
 (:, J fme prmctpal, (6) fine  mterest, (7) commumty rest1tut1on, ( 8) J\ l A assessment, (9) penalties, and (I 0) costs, mcludmg cost of
 prosecut10n and court costs.
